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                                                                                             2019 Oct-24 AM 09:56
                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA


                            UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

JILL KILEY, MARCUS PAYNE,                     )
BRITTNEY RELLIFORD,                           )
BABATUDE OLASEINDE and                        )
ROBERT FARLEY,                                )
individually and on behalf of all             )      Civil Action No. 2:17-cv-01756-RDP
others similarly situated,                    )
                                              )
                                Plaintiffs,   )
                                              )
       v.                                     )
                                              )
MEDFIRST CONSULTING, LLC,                     )
                                              )
                        Defendant.            )
________________________________              )


                           DECLARATION OF OLENA SAVYTSKA

       Olena Savytska, being duly sworn, hereby states as follows:

       1. I am an associate at the law firm of Lichten & Liss-Riordan, P.C., counsel of record

            for Plaintiffs in this case.

       2. On October 21, 2019, our firm received calls from several opt-ins, who informed us

            MedFirst had ceased operations.

       3. The following day, Plaintiffs’ Counsel emailed Defendants’ Counsel to verify this

            information and meet and confer on the issue. See email attached hereto as Exhibit 1.

            Defense Counsel’s reply, which is not attached here because it discusses settlement

            communications, was non-responsive on this issue.

       4. Attached hereto as Exhibit 2 is a true and accurate copy of the LinkedIn profile for

            Brian Smith.




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Signed under the pains and penalties of perjury this 24 day of October, 2019.



                              _____________________
                              Olena Savytska




                                            2
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                     Exhibit 
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Olena Savytska

From:                            Olena Savytska
Sent:                            Tuesday, October 22, 2019 11:30 AM
To:                              Berg, John
Cc:                              Sarah Schalman-Bergen; Harold Lichten; David Blanchard
Subject:                         Kiley v. MedFirst


Good Morning John:

We have heard from several of our clients that MedFirst has ceased operations. Could you please let us know whether
this is the case.

Thank you,

Olena




                                                          1
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                     Exhibit 
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